 AO 245B (Rev. 09/19)     Casein2:19-cr-00639-TJS
                        Judgment a Criminal Case              Document 24 Filed 09/16/20 Page 1 of 9
                        Sheet I



                                          UNITED STATES DISTRICT COURT
                                                       Eastern District of Pennsylvania
                                                                           )
               UNITED STATES OF AMERICA                                    )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
                        THOMAS J. WHALEN                                   )
                                                                                  Case Number: DPAE2:19-CR-000639-001
                                                                           )
                                                                           )      USM Number: 77641-066
                                                                           )
                                                                           )       William Brennan, Esq.
                                                                           )      Defendant's Attorney
 THE DEFENDANT:
 ~ pleaded guilty to count(s)          1 through 4 of an Information
 D pleaded nolo contendere to count(s)
    which was accepted by the court.
 D was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section   B              Nature of Offense                                                          Offense Ended              Count
· 18:1357, and 2                  Healthcare fraud; aiding and abetting                                       313112018                     1

18:545, and 2                     Importation contrary of law; aiding and abetting                            312012018                     2

21 :841 (a)(1 ),(b)(1 )(C)        Distribution of a controlled substance                                      413012018                     3

       The defendant is sentenced as provided in pages 2 through         _ _9__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 D Count(s)                                             Dis       D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material clianges in economtc circumstances.                            ·

                                                                          911512020
                                                                         Date of Imposition of Judgment


                                                                          Isl Timothy J. Savage
                                                                         Signature of Judge




                                                                          Timothy J. Savage, United States District Judge
                                                                         Name and Title of Judge


                                                                          911512020
                                                                         Date




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 AO 245B (Rev. 09/19)    Case in2:19-cr-00639-TJS
                        Judgment a Criminal Case       Document 24 Filed 09/16/20 Page 2 of 9
                        Sheet lA
                                                                                   Judgment-Page        2      of       9
· DEFENDANT: THOMAS J. WHALEN
  CASE NUMBER: DPAE2:19-CR-000639-001

                                     ADDITIONAL COUNTS OF CONVICTION
Title & Sectionll             Nature of Offense                                Offense Ended
21 :841 (a)(1 ),{b){1 )(C)     Distribution of a controlled substance           9/30/2017                           4




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                         Case 2:19-cr-00639-TJS Document 24 Filed 09/16/20 Page 3 of 9
AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                   Judgment - Page _ _3__ of             9
 DEFENDANT: THOMAS J. WHALEN
 CASE NUMBER: DPAE2:19-CR-000639-001

                                                         IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  one (1) day.




      D The court makes the following recommendations to the Bureau of Prisons:




      D The defendant is remanded to the custody of the United States Marshal.

      ~ The defendant shall surrender to the United States Marshal for this district:

          !!I'.   at   09:00
                       -~--------
                                                 ~ am.      D p.m.       on      9/16/2020
          D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                        to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNITED STA TES MARSHAL


                                                                        By
                                                                                             DEPUTY UNITED STATES MARSHAL




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                         Case 2:19-cr-00639-TJS Document 24 Filed 09/16/20 Page 4 of 9
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                      Judgment-Page     4     of        9
DEFENDANT: THOMAS J. WHALEN
CASE NUMBER: DPAE2:19-CR-000639-001
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 three (3) years.




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             ~ The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    ~ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.    D You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    D You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




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                        Case 2:19-cr-00639-TJS Document 24 Filed 09/16/20 Page 5 of 9
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment-Page --=----of------'=------
DEFENDANT: THOMAS J. WHALEN
CASE NUMBER: DPAE2:19-CR-000639-001

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least IO
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date-----------~




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                           Case 2:19-cr-00639-TJS Document 24 Filed 09/16/20 Page 6 of 9
    AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                           Sheet 3B - Supervised Release
                                                                                               Judgment-Page   -=6-       of       9
    DEFENDANT: THOMAS J. WHALEN
    CASE NUMBER: DPAE2:19-CR-000639-001

                                          ADDITIONAL SUPERVISED RELEASE TERMS
     1. Upon release from custody, the defendant is to be confined to his residence for a period of twelve (12) months. The
     defendant shall be required to be at this residence at all times except for approved absences for gainful employment,
     community service, religious services, medical care, educational or training programs, and other such times as may be
     specifically authorized by the U.S. Probation Office. The defendant shall wear an electronic monitoring device and follow
     electronic monitoring procedures. The defendant shall permit the probation officer access to the residence at all times and
     maintain a telephone at the residence without any custom services or portable, cordless equipment. The defendant shall
     comply with any other specific conditions of home confinement as the probation officer requires. The defendant shall pay
     the costs of electronic monitoring.

     2. The defendant shall perform 2,000 hours of community service at the direction of the United States Probation Office,
     preferably at a government agency. The Probation Officer will need explicit approval from the Court of what that service will
     be.




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                                2:19-cr-00639-TJS               Document 24 Filed 09/16/20 Page 7 of 9
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  DEFENDANT: THOMASJ. WHALEN .
  CASE NUMBBll: DPAE2:19-CR~000639-001
                                              CRIMINAL MONETARY PENALTIES



                       MSeSSU'lellt          Ratit!fio!r                   Fme                     AVAA Assessmept*            JVTA Assessment**
  TOTALS            $ 400.00                S 1,116,845.02             S 25,000.00             s                           $



  D     The detei:mination of restitution is defetted until
        et;rteredllfter sud): ~ o n .
                                                              - - - -. Ail Atiumiled Judgment in             a Cn1mrtal Case (AO 245C) will be


  ~ The ~(!ant must ~ e restitution ( i n c l u d i n g ~ ~ to the foJlowing,payee!i µ1 the amqunt list~ 'below.

        If the ~f.endanf makes-a part,ial payment. eadipaye~ shall receive an approximatelyproporlion~~ . . • unless~~· otherwise !1l
        them'l ......hrotdetorn,,,reen_f.,;,,;en-~l>elow.
        bef&i~"Onited                                            . .. ... . ··.. . . . . . . § 3 .. t, allllOfm.·
                           Stat;; JS ;1d._.,_ •. .· .. . Ho~,p~to:l8IJ.S.C.                                 .. ed,tmdvu:tunsmustbepatd
  Name9iPam,                                                   Total Loss***                    llestitution Ordered      Priority or Perci!ntage
   Medicare                                                                 $832,662.15                  $$32.662.15
   U.S. Centers for Medicare & Medicaid
   Services
   7500 Security B4vd.
   Baltimore, MD 21244


   Independence Blue Cross                                                  $259,345.32                  $259,345.32
   Attn: Bob Climatdi
   1901 Mc1rketSt..A2nd A.
   Philadelphia, PA 19103


  TOTALS                              $         1,116,845.02                       $          1, 116.845.02
                                          ------'--------                              -----"-----'----




  D     The defen.®rt must pay interest on restitution ~d a fine of mQll! than $2,50(}. unless the restitution or fine is paid in full before the
        f i ~ day after the date of the judgment, pursqant to 18U.S.C. § 36l2(f). All ofthepaymentoptioos~ Sheet 6may be st;ibject
        to penalties for delinquency atiddefaul4pur:suantto JS.1).S.C, § '612(g).

  ill   The cowt ~ that tile defendant <Joes.npt luwe·the ability to pay int¢rffl ~d itis ordeJ:ed that:
        ill   the interest ~ t i s waivwforthe                ill    fme    it.I   ~on.

        D the interest requimuettt for the        D    fine         D restitution.is modified as follows:

                                .. d.PornomanhyVi.1ctim~.·.
  *Amy.• V1£lcy:., and·. Aildvctul                   • .· ..Actof2018,Pub.L. No. 115-299.
  ** Justice £of Victims o f T ~ kt of2015. Pub. L. No. tl4--22, . . .   .    ..       .
  ***Fin4,mgs fofthe total mnounh>flosses ate ~.under.Chapters l09A,                       uo. 1IOA; ·and 113A of'f'it1e 18 for offens~ committed on
  or after September 13. .1994, but before April 23, l 996.


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                           Case
                          Sheet SB - 2:19-cr-00639-TJS
                                      Criminal Monetary Penalties   Document 24 Filed 09/16/20 Page 8 of 9
                                                                                                     Judgment-Page   --=8-   of        9
   DEFENDANT: THOMAS J. WHALEN
   CASE NUMBER: DPAE2:19-CR-000639-001

                                                ADDITIONAL RESTITUTION PAYEES
                                                                                                                            Priority or
   Name of Payee                                                           Total Loss*        Restitution Ordered           Percentage
    U.S. Office of Personnel Management                                          $24,837.55           $24,837.55

    900 Market St., Suite 600

    Philadelphia, PA 19107




        * Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
  or after September 13, 1994, but before April 23, 1996.




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   AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                            Case
                          Sheet      2:19-cr-00639-TJS
                                6 - Schedule of Payments        Document 24 Filed 09/16/20 Page 9 of 9
                                                                                                            Judgment - Page        9        of           9
    DEFENDANT: THOMAS J. WHALEN
    CASE NUMBER: DPAE2:19-CR-000639-001

                                                       SCHEDULE OF PAYMENTS

    Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

    A     ~    Lump sum payment of$       400.00                due immediately, balance due

               •     not later than                               , or
               ~     in accordance with   •   C,   •    D,      ~ E, or      D F below; or

    B    •     Payment to begin immediately (may be combined with          DC,        •   D,or     D F below); or

    C     D    Payment in equal      _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                             (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

    D     D    Payment in equal      _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                             (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

    E     ~    Payment during the term of supervised release will commence within    30 days       (e.g., 30 or 60 dqys) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

    F    D     Special instructions regarding the payment of criminal monetary penalties:




   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
   the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
   Financial Responsibility Program, are made to the clerk of the court.

   The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



    D    Joint and Several

         Case Number
         Defendant and Co-Defendant Names                                               Joint and Several               Corresponding Payee,
         (including defendant number)                       Total Amount                     Amount                         if appropriate




   D     The defendant shall pay the cost of prosecution.

   D     The defendant shall pay the following court cost(s):

   D     The defendant shall forfeit the defendant's interest in the following property to the United States:



   Pa~ents shall be applied in the following order: (1) assessment, (2) restitution princ!Pal, (3) restitution interest, (4) AVAA assessment,
   (5) fine principal, (6) fine interest, (7) community restitution, (8) NTA assessment,(~) penalties, and (10) costs, mcluding cost of
   prosecut10n and court costs.


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